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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                     :       Case No. 1:18-cr-30
                                              :
        Plaintiff,                            :       Judge Susan J. Dlott
                                              :
   v.                                         :       ACCEPTANCE OF GUILTY PLEA
                                              :
OHIO ALUMINUM CHEMICAL, LLC,                  :
                                              :
        Defendant.                            :
                                              :

         This matter is before the Court on the Recommendation of Acceptance of Guilty Plea

(Doc. 9). On May 30, 2018, Defendant appeared with counsel before Magistrate Judge J.

Gregory Wehrman for rearraignment. After Magistrate Judge Wehrman informed Defendant of

its right to rearraignment in the presence of a United States District Judge, Defendant—through

its authorized representative, Vice President Richard Rosen—consented to rearraignment before

a United States Magistrate Judge. Defendant, through counsel, further consented to the

Magistrate Judge conducting the Rule 11 hearing and making a recommendation concerning plea

acceptance. The consent was knowing, voluntary, and intelligent and occurred with counsel’s

advice. The United States also consented.

         At the conclusion of those proceedings, the Magistrate Judge recommended that this

Court accept the guilty plea of Ohio Aluminum Chemical, LLC. The Defendant has waived

Indictment (Doc. 8).

         Having received no objections to the Magistrate Judge’s recommendation, this Court

ACCEPTS the guilty plea of Ohio Aluminum Chemical, LLC and adjudges it guilty of Count 1

of the Information as charged. The Court will consider the Plea Agreement filed in this case



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along with the Presentence Investigation Report and any other sentencing memoranda filed by

either party prior to sentencing.

       IT IS SO ORDERED.


       Date July 18, 2018                         __s/Susan J. Dlott__________
                                                  Judge Susan J. Dlott
                                                  United States District Court




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